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                      EXHIBIT 2
(Revised Index and Certified List of Contents of the Administrative Record)
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Doc #   File Name/Link                                                               Description                                                                                   Event Year      Date    Pages Bates Start Bates End   Notes
 272    08‐03‐2018 Field Visit Notes                                                 Email re: 8/3/18 field visit                                                                     2018      08/06/2018   5     00001      00005
 278    08‐03‐2018 Site Setup Notes                                                  Email re: 8/3/18 site setup                                                                      2018      08/13/2018   2     00006      00007
 275    08‐09‐2018 Email Miers‐Hall                                                  Email re: NDEP jurisdiction for tank inspection                                                  2018      08/09/2018   1     00008      00008
 282    08‐26‐2018 Update re gate closed                                             Update on gate closure                                                                           2018      08/26/2018   2     00009      00010
 293    09‐18‐2018 Email from BRC re Fuel Decision                                   Email re: fuel decision                                                                          2018      09/18/2018   2     00011      00012
 202    11. Driving Passes and Speed Limits (1)                                      BRC driving passes and speed limits                                                              2017      08/09/2017   2     00013      00014
  13    2012 Burning Man AAR (11‐19‐12)                                              2012 BLM AAR                                                                                     2012      11/19/2012 17      00015      00031
  20    2012 Close Out Letter                                                        Burning Man Close Out Letter addressing LE AAR and Project Log ‐ 2012 event                      2012      04/26/2013   3     00032      00034
   7    2012 Decision Record Burning Man                                             2012 Decision Record Burning Man                                                                           06/12/2012 19      00035      00053
  18    2012 LE AAR 04.25.13 (2)                                                     Law Enforcement AAR ‐ 2012 event                                                                2012       04/25/2013 29      00054      00082
                                                                                     WO approved Memo from Director OLES re: lifting pay cap for personnel supporting 2012
        2012_08_19_BMAN_PAY_CAP_WAIVER_SIGNED                                                                                                                                        2012                     1
 12                                                                                  event                                                                                                      08/07/2012          00083      00083
  8     2012Completed EA Face Sheet                                                  2012 EA Face Sheet                                                                                         06/12/2012    4     00084      00087
  9     2012Dear Interested Public Letter                                            2012 Dear Interested Public Letter                                                                         06/12/2012    2     00088      00089
 16     2013 BM Cost Recovery Estimate 3‐21‐13‐Copy                                  Cost Recovery Estimate ‐ 2013 event                                                             2013       03/21/2013    3     00090      00092
 26     2013 BRC After Action Report FINAL                                           BRC AAR ‐ 2013 event                                                                            2013       12/06/2013   12     00093      00104
 17     2013 Cost Estimate_Spreadsheet_Justification_Letter ‐ Copy                   Cost Estimate Justification Letter ‐ 2013 event                                                 2013       03/25/2013   18     00105      00122
 33     2013 Cost Recovery Close Out Decision_Signed                                 2013 event Cost Recovery Close Out Decision_Signed                                              2013       02/20/2014    4     00123      00126
 21     2013 Cost Recovery Decision Letter and Agreement                             Cost Recovery Decision Letter and Agreement ‐ 2013 event                                        2013       06/05/2013   10     00127      00136
 23     2013 Signed Addendum                                                         Signed Addendum for 2013 event                                                                  2013       08/09/2013    4     00137      00140

        2013_08_05_BMAN_PAY_CAP_WAIVER_SIGNED                                                                                                                                        2013                     8
 25                                                                                                                                                                                             08/13/2013          00141      00148
 14     2013_LE_BMan_Cost_Estimate (1)‐Copy                                          Law Enforcement Cost Estimate for 2013 Burning Man                                              2013       02/12/2013    1     00149      00149
 53     2014 Burning Man Contract Package                                            2014  Burning Man
                                                                                     WO approved     MemoContract  PackageOLES re: lifting pay cap for personnel supporting 2013
                                                                                                             from Director                                                           2014       03/26/2015   74     00150      00223
 49     2014 Burning Man Post Site Inspection Report                                 BLM
                                                                                     eventPost‐Event Site Inspection Report                                                          2014       01/29/2015   15     00224      00238
 50     2014 Burning Man SRP Evaluation                                              BLM SRP Evaluation                                                                              2014       01/30/2015    5     00239      00243
 45     2014 Cost Recovery Addendum                                                  2014 Cost Recovery Addendum                                                                     2014       08/12/2014    2     00244      00245
 32     2014 CR Decision‐ CR Estimate‐ CR Agreement                                  2014 CR Decision‐ CR Estimate‐ CR Agreement                                                     2014       01/31/2014   10     00246      00255
 35     2014 Final Decision BRC Cost Recovery Estimate Cover Letter                  2014 Final Decision BRC Cost Recovery Estimate Cover Letter                                     2014       03/03/2014   10     00256      00265
 54     2014 FINAL DECISION TO BRC FOR CRA REFUND March 26 2015_Signed               2014 FINAL DECISION TO BRC FOR CRA REFUND March 26 2015_Signed                                  2014       03/26/2015   14     00266      00279
 27     2014 Preliminary Cost Recovery Estimate                                      Preliminary Cost Recovery Estimate for 2014 event                                               2014       01/21/2014    5     00280      00284
 36     2014 Signed CRA Estimate                                                     2014 Signed CRA Estimate                                                                        2014       03/07/2014    7     00285      00291
 37     2014 Signed CRA‐MOU Letter and Attachments 3‐10‐14                           2014 Signed CRA‐MOU Letter and Attachments 3‐10‐14                                              2014       03/10/2014   11     00292      00302
                                                                                     WO approved Memo from Director OLES re: lifting pay cap for personnel supporting 2014
        2014_07_24_BMAN_PAY_CAP_WAIVER_SIGNED                                                                                                                                        2014                     1
 42                                                                                  event                                                                                                      07/25/2014          00303      00303
 81     2015 BLM Burning Man AAR_Final                                               2015 BLM AAR                                                                                    2015       03/08/2016    39    00304      00342
 73     2015 BM ‐ BLM Contracts.pdf                                                  3‐ 2015 BM ‐ BLM Contracts                                                                      2015       01/26/2016   122    00343      00464
 71     2015 BM ‐ Closeout Summary.pdf                                               1‐ 2015 BM ‐ Closeout Summary                                                                   2015       01/26/2016     1    00465      00465
 76     2015 BM ‐ Misc Supplies and Equip.pdf                                        6‐ 2015 BM ‐ Misc Supplies and Equip                                                            2015       01/26/2016   56     00466      00521
 77     2015 BM ‐ Personnel per State                                                Personnel                                                                                       2015       01/26/2016    1     00522      00522
 72     2015 BM ‐ Project Log.pdf                                                    2‐ 2015 BM ‐ Project Log                                                                        2015       01/26/2016    6     00523      00528
 74     2015 BM ‐ Travel Per Person.pdf                                              4‐ 2015 BM ‐ Travel Per Person                                                                  2015       01/26/2016     3    00529      00531
 75     2015 BM ‐ Vehicle Utilization.pdf                                            5‐ 2015 BM ‐ Vehicle Utilization                                                                2015       01/26/2016    1     00532      00532
 84     2015 BRC AAR Cover Letter to BLM                                             2015 BRC AAR Cover Letter to BLM                                                                2015       03/25/2016     2    00533      00534
 85     2015 BRC AAR Final smaller                                                   2015 BRC AAR                                                                                    2015       03/25/2016   153    00535      00687
 70     2015 COST RECOVERY001                                                        2015 Burning Man Event Cost Recovery Decision                                                   2015       01/26/2016     3    00688      00690
 60     2015 CR Decision Original Scan                                               2015 Cost Recovery Agreement & Decision                                                         2015       08/03/2015    12    00691      00702
                                                                                     WO approved Memo from Director OLES re: lifting pay cap for personnel supporting 2015
        2015_06_08_BMAN_PAY_CAP_WAIVER_SIGNED                                                                                                                                        2015                     1
 58                                                                                  event                                                                                                      06/15/2015          00703      00703
243     2016 BLM signed SRP                                                          2016 BLM SRP                                                                                    2016       08/02/2016    3     00704      00706
122     2016 BLM SRP signed Decision                                                 2016 BLM SRP signed Decision                                                                    2016       08/02/2016    5     00707      00711
159     2016 BM ‐ CRA Closeout ‐ Contracting Table_Final.pdf                         2016 All contracts assoc with event                                                             2016       01/31/2017    1     00712      00712
158     2016 BM ‐ CRA Closeout ‐ Project Labor Table_Final.pdf                       2016 Project log for all employees assoc w/event (hours/cost)                                   2016       01/31/2017    7     00713      00719
                                                                                     2016 Final CR Close out Summary of Labor, Contracts, travel, vehicles, Misc supplies,
                                                                                                                                                                                     2016                     1
157     2016 BM ‐ CRA Closeout ‐ Summary Table_Final.pdf                             direct/indirect costs                                                                                      01/31/2017          00720      00720
160     2016 BM ‐ CRA Closeout ‐ Travel Table_Final.pdf                              2016 All travel costs per employee assoc w/event                                                2016       01/31/2017    2     00721      00722
161     2016 BM ‐ CRA Closeout ‐ Vehicle Utilization Table_Final.pdf                 2016 All vehicle utilization assoc w/event                                                      2016       01/31/2017    1     00723      00723
162     2016 BM CRA Closeout ‐ Misc Supplies and Equip Table_Final.pdf               2016 All approved misc. purchases assoc w/event                                                 2016       01/31/2017    2     00724      00725
123     2016 BRC SRP Stips_Signed                                                    2016 BRC SRP Stips_Signed                                                                       2016       08/02/2016   14     00726      00739
120     2016 Burning Man Event DNA_signed                                            2016 Event DNA ‐ signed                                                                         2016       08/01/2016   22     00740      00761


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 104    2016 Burning Man Fed RegNotice_Map_NewsRelease                                     2016 Burning Man closure Federal Register Notice, Map, & News Release                        2016      07/01/2016   8     00762      00769
 117    2016 Cost Recovery Agreement ‐ Signed by BRC                                       BRC signed CRA for the 2016 event                                                            2016      07/29/2016   8     00770      00777
 112    2016 CR Estimate‐Agreement_Burning Man Event_7‐22‐2016                             Unsigned CRA for the 2016 event                                                              2016      07/22/2016   8     00778      00785
 156    2016 CRA signed Decision 1‐31‐17                                                   BLM signed Decision CR refund for 2016 event                                                 2016      01/31/2017   3     00786      00788
 163    2016 Event BLM Misc receipts                                                       All BLM misc receipts and list for 2016 event                                                2016      01/31/2017 74      00789      00862
                                                                                           BRC letter to BLM, BRC 3% breakdown, CBS transaction receipt, copy of Check from BRC
        2016 Event BRC Gross Revenue_Payment                                                                                                                                            2016                   4
155                                                                                        for $829,522 ‐ 2016 event                                                                              01/26/2017          00863      00866
110     2016 L16PB00672 SHI MS Licensing                                                   Contract ‐ SHI International ‐ Microsoft server licensing                                    2016      07/21/2016   12     00867      00878
121     2016 L16PD00794 Midland Radio Encryption                                           Contract ‐ Midland ‐ Radio encryption                                                        2016      08/01/2016   12     00879      00890
116     2016 L16PD00826 Alverez Satellite Tracking                                         Contract ‐ Alvarez ‐ Satellite tracking                                                      2016      07/27/2016   21     00891      00911
106     2016 L16PG00202 IAA USDA LE Patrols                                                Interagency agreement ‐ USDA Law enforcement                                                 2016      07/01/2016   24     00912      00935
107     2016 L16PG00203 HHS Medical Support                                                Interagency agreement ‐ HHS medical support                                                  2016      07/01/2016   11     00936      00946
109     2016 L16PX01189 ModSpace Rental                                                    Contract ‐ ModSpace ‐ medical facility                                                       2016      07/18/2016   18     00947      00964
127     2016 L16PX01421 Lyman Comm Network Services                                        Contract ‐ Lyman ‐ communications network                                                    2016      08/02/2016   28     00965      00992
128     2016 L16PX01422 High Desert Internet Services                                      Contract ‐ High Desert ‐ internet services                                                   2016      08/02/2016   23     00993      01015
                                                                                           Memo to Nevada State Director regarding Computer Aided Dispatch (CAD) System Reports
        2016_06_22_BMAN_WHITE_PAPER_CAD_REPORTS_YOUNG                                                                                                                                   2016                   2
 98                                                                                        for the 2016 event                                                                                     06/22/2016          01016      01017
                                                                                           Memo to Nevada State Director on the Emergency Designation regarding overtime and
        2016_06_23_BMAN_WHITE_PAPER_EMERGENCY_DESIGNATION_OPER‐PIRTLE                                                                                                                   2016                   11
 99                                                                                        labor costs for the 2016 event                                                                         06/23/2016          01018      01028
101     2016_06_27_BMAN_WHITE_PAPER_COST_RECOVERY_PIRTLE‐BRISCOE‐MACK                      Memo to Nevada State Director on Cost Recovery for the 2016 event                            2016      06/27/2016   6      01029      01034
108     2016_07_06_BMAN_WHITE_PAPER_EMERGENCY_DESIGNATION_UPDATED                          BLM_Emergency vs Non‐Emergency Designation Comparison Table                                  2016      07/06/2016   6      01035      01040
                                                                                           Scope of Work for Providing Mission Support Technician (MST) personal services and
        2016_07_27_BMAN_MISSION_SUPPORT_BRC_SOW_FOR_BLM_FINAL                                                                                                                           2016                   12
115                                                                                        support in the Gerlach,NV area for the 2016 Burning Man Event                                          07/27/2016          01041      01052
                                                                                           Scope of work for providing Computer Aided Dispatch (CAD) technical services and support
        2016_08_04_BMAN_BRC SOW for CAD for BLM_Final_V4.0_jky_rg_brc_legal_rev                                                                                                         2016                   11
129                                                                                        in the Gerlach, NV area for the 2016 Burning Man Event                                                 08/04/2016          01053      01063
                                                                                           Scope of work for providing microwave internet services and support in the Gerlach, NV
        2016_08_08_SOW_BLM_OLES_BMAN_2016_MICROWAVE_WIRELESS_INTERNET                                                                                                                   2016                   8
130                                                                                        area for the 2016 Burning Man Event                                                                    08/08/2016          01064      01071
137     2016_12_15 BLM to BRC Cover Letter and SRP Evaluation FINAL                        BLM letter re: SRP evaluation                                                                2016      12/15/2016    6     01072      01077
100     2016_Direct Signature_Req for CRA                                                  BLM Decision to BRC re: moving forward w/CRA and CR estimate for 2016 event                  2016      06/23/2016    3     01078      01080
135     2016_FINAL_BM PostEvent Inspection_Report_wAttachment1                             2016_FINAL_BM Post Event Inspection_Report_w/Attachment                                      2016      11/29/2016   21     01081      01101
136     2016_PEI_Report_DecisionLetter_signed                                              BLM to BRC signed Decision Post Inspection Report                                            2016      11/29/2016    1     01102      01102
                                                                                           email from BLM to BRC regarding Cost Recovery Estimate for 2016 Burning Man SRP ‐
                                                                                                                                                                                        2016                   4
 83     2016‐03‐18_Mack to Barnes_Re Cost Recovery Estimate for 2016 Burning Man SRP.pdf   planning team                                                                                          03/18/2016          01103      01106
                                                                                           WO approved Memo from NV SD letter to WO Director (WO700) re: lifting pay cap for
                                                                                                                                                                                        2016                   1
 92     2016‐05‐10 ‐ Lifting pay cap.pdf                                                   personnel supporting 2016 event                                                                        05/10/2016          01107      01107
 96     2016‐06‐17 Mack to Benson_Re Medical Trailer MOU.pdf                               Email discussion between Mack and Benson re: medical trailer MOU                             2016      06/17/2016    2     01108      01109
 97     2016‐06‐21 BLM to BRC ‐ CAD Servers.pdf                                            Email re: CAD Servers                                                                        2016      06/21/2016   10     01110      01119
                                                                                           Email from BLM (Mack & Young) to BRC regarding CAD reports and scope of work for 2016
                                                                                                                                                                                        2016                   6
113     2016‐07‐22 M.BensonMail ‐ Re_ CAD Reports SOW _2016 Event.pdf                      Burning Man event                                                                                      07/22/2016          01120      01125
118     2016‐07‐29 BRC letter to BLM 2016 CRA comments.pdf                                 BRC letter to BLM re: signed 2016 CRA                                                        2016      07/29/2016   6      01126      01131
124     2016‐08‐02 BLM letter to BRC letter.pdf                                            BLM letter to BRC re: signed CRA for 2016 event                                              2016      08/02/2016   2      01132      01133
                                                                                           Scope of work for providing IP Network, technical services and support in the Gerlach, NV
                                                                                                                                                                                        2016                   10
132     2016‐08‐08_SOW_BLM_OLES_BMAN_2016_NETWORK_SERVICE___SUPPORT.pdf                    area for the BLM 2016 Burning Man Event                                                                08/11/2016          01134      01143
119     2016SalesReportDATES                                                               2016 Burning Man event ticket sales                                                          2016      07/31/2016    1     01144      01144
194     2017 BLM‐BRC Joint Operation Center (JOC) Compound Layout Plan                     2017 JOC compound layout plan                                                                2017      07/27/2017    1     01145      01145
201     2017 BLMPCSO Ops Plan_Redacted                                                     BLM/PSCO Ops Plan ‐ 2017                                                                     2017      08/09/2017   11     01146      01156
225     2017 BM ‐ CRA Closeout ‐ Attachment 1 Project Labor Table                          2017 CRA Closeout Decision ‐ Attachment 1 ‐ Project Labor Table                              2017      01/16/2018    8     01157      01164
226     2017 BM ‐ CRA Closeout ‐ Attachment 2 BLM Contracts                                2017 CRA Closeout Decision ‐ Attachment 2 ‐ BLM Contracts                                    2017      01/16/2018   69     01165      01233
227     2017 BM ‐ CRA Closeout ‐ Attachment 3 Travel Expenses                              2017 CRA Closeout Decision ‐ Attachment 3 ‐ BLM Travel Expenses                              2017      01/16/2018    3     01234      01236
228     2017 BM ‐ CRA Closeout ‐ Attachment 4 Vehicle Utilization Expenses                 2017 CRA Closeout Decision ‐ Attachment 4 ‐ BLM Vehicle                                      2017      01/16/2018    1     01237      01237
229     2017 BM ‐ CRA Closeout ‐ Attachment 5 Misc Purchases Table                         2017 CRA Closeout Decision ‐ Attachment 5 ‐ Misc Purchases                                   2017      01/16/2018    4     01238      01241
224     2017 BM ‐ CRA Closeout ‐ Summary Table_Final                                       2017 CRA Closeout ‐ Summary Table_Final                                                      2017      01/16/2018    1     01242      01242
223     2017 BM ‐ CRA Closeout Decision                                                    2017 CRA Closeout Decision                                                                   2017      01/16/2018    3     01243      01245
231     2017 BM CRA Closeout_FBMS Spreadsheet_Gov_t Contract Costs                         2017 FBMS Gov Contract Costs                                                                 2017      01/16/2018    1     01246      01246
232     2017 BM CRA Closeout_FBMS Spreadsheet_Labor Costs                                  2017 FBMS Labor Costs                                                                        2017      01/16/2018   35     01247      01281
233     2017 BM CRA Closeout_FBMS Spreadsheet_Misc Purchases_Credit Card                   2017 FBMS Misc Purchases                                                                     2017      01/16/2018    3     01282      01284
234     2017 BM CRA Closeout_FBMS Spreadsheet_Travel Costs                                 2017 FBMS Travel Costs                                                                       2017      01/16/2018   12     01285      01296
230     2017 BM CRA Closeout_FBMS Spreadsheet_Vehicle Fleet Cost                           2017 FBMS Vehicle Fleet Costs                                                                2017      01/16/2018    5     01297      01301
165     2017 BM CRA Phase 1_Briefing Paper to SD                                           CRA Phase 1 Briefing Paper                                                                   2017      03/07/2017    3     01302      01304
197     2017 BM Event Decision Document_Signed                                             BLM Decision for 2017 Burning Man event                                                      2017      07/30/2017    6     01305      01310


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 198    2017 BM Event DNA Document_Signed                                                BLM DNA for 2017 Burning Man event                                            2017      07/30/2017 30      01311      01340
 199    2017 BM Event SRP Permit Document_Signed                                         BLM SRP for 2017 Burning Man event                                            2017      07/30/2017   2     01341      01342
 200    2017 BM Event Stips_Signed                                                       Special stipulations for 2017 Burning Man event                               2017      07/30/2017 14      01343      01356
 235    2017 BMAN Cost Recovery Comparison of Estimated and Actual Cost                  Comparison between 2017 estminated and actual costs                           2017      01/16/2018   1     01357      01357
 169    2017 BP_BurningMan_BLM_medical                                                   Briefing Memo on BLM Medical Services                                         2017      04/19/2017   4     01358      01361
 222    2017 BRC AAR Final                                                               BRC AAR for 2017 event                                                        2017      12/22/2017 58      01362      01419
 240    2017 BRC Qs Part 1                                                               BLM responses to BRC questions dated 2/15/2018 ‐ part 1                       2017      03/02/2018   5     01420      01424
 241    2017 BRC Qs Part 2                                                               BLM responses to BRC questions dated 2/15/2018 ‐ part 2                       2017      03/29/2018 10      01425      01434
 216    2017 Burning Man COMMUNICATIONS PLAN_Final                                       BLM Communications Plan ‐ 2017 Burning Man                                    2017      08/09/2017   3     01435      01437
 168    2017 Burning Man Phase 1 CRA Estimate_BLM _ BRC_signed                           2017 Burning Man ‐ CRA Phase 1 Estimate                                       2017      04/14/2017   8     01438      01445
 196    2017 Burning Man Phase 2 CRA Estimate_BLM _ BRC Signed                           2017 Burning Man ‐ CRA Phase 2 Estimate                                       2017      07/28/2017   8     01446      01453
 189    2017 Cover Letter Phase 2 CRE_Sent to BRC                                        2017 Burning Man ‐ CRA Phase 2 Cover Letter                                   2017      07/02/2017   2     01454      01455
 217    2017 Operational Assignments                                                     2017 Burning Man LE Operational Assignments                                   2017      08/21/2017   1     01456      01456
 167    2017 Pay Cap DOI Authorization_Signed                                            2017 Burning Man Pay Cap‐Mission Critical Designation                         2017      04/13/2017   1     01457      01457
 195    2017 Phase 2 CRA Cover Letter from BRC to BLM July 27 2017                       2017 Phase 2 CRA Cover Letter from BRC to BLM July 27 2017                    2017      07/27/2017   2     01458      01459
 191    2017 Phase 2 CRA Hours                                                           Calculations for Phase 2 CRA LE Labor Hours                                   2017      07/02/2017 12      01460      01471
 190    2017 Phase 2 CRA Labor $                                                         Calculations for Phase 2 CRA LE Labor                                         2017      07/02/2017 16      01472      01487
 245    2017 Tank Photos                                                                 Photos of fuel tanks from 2017                                                2017      08/30/2017   3     01488      01490
 218    2017 TO Spreadsheet with Detail Dates and Shifts                                 2017 Burning Man Table of Organization ‐ Detail dates and shifts              2017      08/24/2017   2     01491      01492
 145    2017_01_04 SRP Application for 2017 FINAL                                        SRP Application for 2017 Burning Man                                          2017      01/04/2017   3     01493      01495
 151    2017_01_10 BRC to BLM Cover Letter re Cancellation of Proffer                    2017_01_10 BRC to BLM Cover Letter re Cancellation of Proffer                 2017      01/10/2017   2     01496      01497
 236    2017‐2016 Burning Man Event Cost Recovery Close Out Comparison                   Comparison between 2017 actual costs and 2016 actual costs                    2017      01/16/2018   1     01498      01498
 333    2018 Base Station Up‐grade Contract Justification                                2018 Base Station Up‐grade Contract Justification                             2018      01/16/2018   1     01499      01499
 270    2018 Black Rock Ranger Manual                                                    2018 Black Rock Ranger Manual                                                 2018      08/01/2018 100     01500      01599
 331    2018 BLM Burning Man Event Planning TO                                           2018 BLM Burning Man Event Planning TO                                        2018      08/17/2018   1     01600      01600
 327    2018 BM PMS                                                                      PCSO Post Mission Synopsis                                                    2018      01/07/2019 35      01601      01635
 271    2018 Burning Man Ops Plan                                                        2018 Burning Man Ops Plan                                                     2018      08/01/2018 388     01636      02023
 260    2018 Closure Order FR                                                            2018 Closure Order FR                                                         2018      07/02/2018   5     02024      02028
 310    2018 CRA Closeout Misc Receipts 03‐29‐2019                                       2018 CRA Closeout ‐ Misc Receipts dated 03‐29‐2019                            2018      03/29/2019 101     02029      02129
 311    2018 CRA Closeout_Gov_t Contracts 03‐29‐2019                                     2018 CRA Closeout ‐ Gov't Contracts dated 03‐29‐2019                          2018      03/29/2019 625     02130      02754
 312    2018 CRA Decision Signed 03‐29‐2019                                              2018 CRA Decision Signed 03‐29‐2019                                           2018      03/29/2019 17      02755      02771
 335    2018 CRA Phase 2 _signed                                                         2018 CRA Phase 2 _signed                                                      2018      07/11/2018   4     02772      02775
 287    2018 Event BRC purports is 8.28 unreported SA                                    CAD info re: sexual assault 8‐28‐2018                                         2018      08/29/2018   2     02776      02777
 292    2018 PCSO Sex Assault notification to BRC                                        PCSO memo to BRC re: Sexual Assault notification                              2018      09/01/2018   1     02778      02778
 252    2018 Phase 2 CRA Attachment 1_Cost Tables                                        2018 Phase 2 CRA Attachment 1_Cost Tables                                     2018      06/01/2018   3     02779      02781
 288    2018 SA no notification                                                          CAD info re: sexual assault 8‐28‐2018                                         2018      08/29/2018 10      02782      02791
 248    2018 SRP Application Revised 2718 with corrected dates                           2018 SRP Application Revised 2718 with corrected dates                        2018      02/07/2018   2     02792      02793
 332    2018 srp eval                                                                    2018 SRP Evaluation                                                           2018      07/23/2019 14      02794      02807
 286    2018 Suicide Attempt CAD Report                                                  2018 Suicide Attempt CAD Report                                               2018      08/28/2018   3     02808      02810
 266    2018_Burning_Man_DNA                                                             2018 Burning Man DNA                                                          2018      07/27/2018 30      02811      02840
 267    2018_Burning_Man_Event_Decision_Letter                                           2018 Burning Man SRP Decision                                                 2018      07/27/2018   5     02841      02845
 261    2018_Closure_Order_Map_for_the_Burning_Man_Event                                 2018 Closure Order Map                                                        2018      07/03/2018   1     02846      02846
 247    2018‐01‐19 CRA1_Cover Letter.pdf                                                 01‐19‐2018 CRA1_Cover Letter                                                  2018      01/19/2018   1     02847      02847
 249    2018‐02‐09 CRA Phase 1 ‐ BRC Signed                                              2018‐02‐09 CRA Phase 1 ‐ BRC Signed                                           2018      02/09/2018   8     02848      02855
 250    2018‐02‐16 Phase 1 2018 CRA Est._Signed                                          2018‐02‐16 Phase 1 2018 CRA Est._Signed                                       2018      02/16/2018   6     02856      02861
 253    2018‐06‐01_ 2018 CRA Estimate_Operational_Phase 2_Main Document_BurningMan.pdf   2018 CRA Estimate Phase 2                                                     2018      06/01/2018   4     02862      02865
 254    2018‐06‐01_SignedCoverLetter_CRAPhase2_2018BurningMan.pdf                        2018 CRA Estimate Phase 2 Cover Letter                                        2018      06/01/2018   2     02866      02867
 255    2018‐06‐22_BWPC Response to NOI for Burning Man Event.pdf                        NDEP Burning Man SRP EIS Comments                                                       06/21/2018   1     02868      02868
 257    2018‐06‐25 ‐ BLM Answer IBLA 2018‐086                                            BLM Answer ‐ IBLA 2018‐086 (Appeal of 2017 Cost Recovery Decision)           2017       06/25/2018 70      02869      02938
 259    2018‐06‐27 Letter from R. Allen to M. Hall re_ BRC Must Report Protocols         2018‐06‐27 Letter from R. Allen to M. Hall re_ BRC Must Report Protocols     2018       06/27/2018   2     02939      02940
 262    2018‐07‐05 Email re SA numbers at BMAN.pdf                                       Email re: sexual assaults at Burning Man                                                07/05/2018   4     02941      02944
 263    2018‐07‐06_BM_CoverLetter_CRAPhase2.pdf                                          2018 CRA Estimate Phase 2 ‐ Letter from BRC to BLM                           2018       07/06/2018   2     02945      02946
 268    2018‐07‐27_Signed Special Recreation Permit 2018.pdf                             07272018_Signed Special Recreation Permit 2018                               2018       07/27/2018   2     02947      02948
 276    2018‐08‐10 fueltankletter.pdf                                                    20180810_fueltankletter                                                      2018       08/10/2018   2     02949      02950
 279    2018‐08‐17 R.Allen Response Ltr to Mark Hall BLM re Fuel Storage                 2018‐08‐17 R.Allen Response Ltr to Mark Hall BLM re Fuel Storage             2018       08/17/2018   3     02951      02953
 289    2018‐08‐29 NonCompliance_88NVPhoneNum.pdf                                        08292018_NonCompliance_88NVPhoneNum                                          2018       08/29/2018   2     02954      02955
 290    2018‐08‐29 NonCompliance_TierOneIssue.pdf                                        08292018_NonCompliance_TierOneIssue                                          2018       08/29/2018   3     02956      02958
 336    2019 BRC Operations Plan                                                         2019 BRC Operations Plan                                                     2019       07/12/2019 302     02959      03260
 337    2019 IAP                                                                         2019 IAP                                                                     2019       08/16/2019 106     03261      03366
 338    2019 MOUs                                                                        2019 MOUs                                                                    2019       03/20/2019 52      03367      03418


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 315    2019.05.30 BLM Ester McCullough Re Crowd Rx 2018                         BLM Letter Re Crowd Rx 2018                                            2018      05/30/2019   3     03419      03421
 339    2019‐02‐06 CoverLetter_CRA_Phase1                                        2019‐02‐06 CoverLetter_CRA_Phase1                                      2019      02/06/2019   2     03422      03423
 340    2019‐02‐06 CRA_Phase1_Agreement                                          2019‐02‐06 CRA_Phase1_Agreement                                        2019      02/06/2019   6     03424      03429
 341    2019‐02‐14 BMtoBLM_CRAPhase1_Agreement                                   2019‐02‐14 BMtoBLM_CRAPhase1_Agreement                                 2019      02/14/2019   6     03430      03435
 342    2019‐02‐14 BMtoBLMLtr_CRAPhase1                                          2019‐02‐14 BMtoBLMLtr_CRAPhase1                                        2019      02/14/2019   2     03436      03437
 295    2019‐02‐22 BMAN ACOE email.pdf                                           Email to ACOE re: 404 Permit                                                     02/23/2019   2     03438      03439
 343    2019‐02‐25 CoverLetter_CRA_SignedPhase1                                  2019‐02‐25 CoverLetter_CRA_SignedPhase1                               2019       02/25/2019   1     03440      03440
 344    2019‐02‐25 CRA_Phase1_Signed                                             2019‐02‐25 CRA_Phase1_Signed                                          2019       02/25/2019   6     03441      03446
 345    2019‐04‐18 planning teamresponse                                         2019‐04‐18 planning teamresponse                                      2019       04/18/2019   6     03447      03452
 346    2019‐04‐18 responsetoMB                                                  2019‐04‐18 responsetoMB                                               2019       04/18/2019   1     03453      03453
 347    2019‐04‐19 responsetoMB                                                  2019‐04‐19 responsetoMB                                               2019       04/19/2019   2     03454      03455
 348    2019‐06‐18 MemotoFile_CRA_phase 2 estimates_FINAL                        2019‐06‐18 MemotoFile_CRA_phase 2 estimates_FINAL                     2019       06/18/2019   3     03456      03458
 349    2019‐06‐25 CRA Phase 2 Cover Letter & Agrmnt                             2019‐06‐25 CRA Phase 2 Cover Letter & Agrmnt                          2019       06/25/2019   9     03459      03467
 350    2019‐07‐05 questions                                                     2019‐07‐05 questions                                                  2019       07/05/2019   2     03468      03469
 352    2019‐07‐09 Email ‐ CM Response to MB                                     2019‐07‐09 Email ‐ CM Response to MB                                  2019       07/09/2019   2     03470      03471
 351    2019‐07‐09 Email ‐ Response to MB                                        2019‐07‐09 Email ‐ Response to MB                                     2019       07/09/2019   3     03472      03474
 353    2019‐07‐12 BMP ltr to BLM regarding CRA Phase 2 Qs                       2019‐07‐12 BMP ltr to BLM regarding CRA Phase 2 Qs                    2019       07/12/2019   1     03475      03475
 354    2019‐07‐17 response letter to July 11 CRA Phase 2                        2019‐07‐17 response letter to July 11 CRA Phase 2                     2019       07/17/2019   2     03476      03477
 355    2019‐07‐24 Burning Man SRP & Additional Stipulations Signed              2019‐07‐24 Burning Man SRP & Additional Stipulations Signed           2019       07/24/2019 16      03478      03493
 356    2019‐08‐06 BMP Cover Letter for CRA Phase 2 payment                      2019‐08‐06 BMP Cover Letter for CRA Phase 2 payment                   2019       08/06/2019   1     03494      03494
 357    2019‐08‐19 CRA Phase 2 Letter and Agreement signed                       2019‐08‐19 CRA Phase 2 Letter and Agreement signed                    2019       08/19/2019 10      03495      03504
 358    2019‐08‐20 NVSO Response to BMP letter on ROD                            2019‐08‐20 NVSO Response to BMP letter on ROD                         2019       08/20/2019   2     03505      03506
 359    2019‐08‐22 Signed Tier One Charter BM2019                                2019‐08‐22 Signed Tier One Charter BM2019                             2019       08/22/2019   3     03507      03509
 360    2019‐08‐23 Email re LE response at 2019 BMAN                             2019‐08‐23 Email re LE response at 2019 BMAN                          2019       08/23/2019   2     03510      03511
 361    2019‐08‐25 Tier 1 Expectations letter                                    2019‐08‐25 Tier 1 Expectations letter                                 2019       08/25/2019   2     03512      03513
 362    2019‐09‐03 Daily IC reports 2019 BMAN                                    2019‐09‐03 Daily IC reports 2019 BMAN                                 2019       09/03/2019 54      03514      03567
 363    2019‐09‐30 ‐ IBLA 2019‐109 ‐ BLM Answer                                  2019‐09‐30 ‐ IBLA 2019‐109 ‐ BLM Answer                               2018       09/30/2019 64      03568      03631
 364    2019‐10‐24 Indirect rate 2019                                            2019‐10‐24 Indirect rate 2019                                         2019       10/24/2019   3     03632      03634
 372    2019‐12‐10 Burning Man Project Phase I Cost Recovery Letter.pdf          2019‐12‐10 Burning Man Project Phase I Cost Recovery Letter           2020       12/10/2019   8     03635      03642
 365    2020‐02‐13 2019 BM CRA Closeout Decision                                 2020‐02‐13 2019 BM CRA Closeout Decision                              2019       02/13/2020 19      03643      03661
 366    2020‐02‐13 CRA Close‐out Comparison 2016‐2019                            2020‐02‐13 CRA Close‐out Comparison 2016‐2019                                    02/13/2020   2     03662      03663
 367    2020‐02‐28 BLM 2019 SRP Evaluation                                       2020‐02‐28 BLM 2019 SRP Evaluation                                    2019       02/28/2020   7     03664      03670
 368    2020‐02‐28 FINAL 2019 After Action Review for BMP                        2020‐02‐28 FINAL 2019 After Action Review for BMP                     2019       02/28/2020 14      03671      03684
 373    2020‐03‐09 Phase 1 Cost Recovery Agreement Cover Letter.pdf              2020‐03‐09 Phase 1 Cost Recovery Agreement Cover Letter               2020       03/09/2020   2     03685      03686
 374    2020‐03‐10 Cost Recovery Agreement Signed FINAL.pdf                      2020‐03‐10 Cost Recovery Agreement Signed FINAL                       2020       03/10/2020   8     03687      03694
 375    2020‐03‐11 BLM ltr to BMP signed CRA and Receipt for 2020.pdf            2020‐03‐11 BLM ltr to BMP signed CRA and Receipt for 2020             2020       03/11/2020   1     03695      03695
 376    2020‐04‐16 BMP 2020 Cancellation.pdf                                     2020‐04‐16 BMP 2020 Cancellation                                      2020       04/16/2020   2     03696      03697
 369    2020‐04‐21 BMP Response to BLM 2019 SRP Evaluation                       2020‐04‐21 BMP Response to BLM 2019 SRP Evaluation                    2019       04/21/2020   6     03698      03703
 377    2020‐05‐18 2020 BM CRA Closeout Decision Letter.pdf                      2020‐05‐18 2020 BM CRA Closeout Decision Letter                       2020       05/18/2020   5     03704      03708
 378    2020‐05‐18 Email Replyto BMP Update requested Re_ Burning Man.pdf        2020‐05‐18 Email Replyto BMP Update requested Re_ Burning Man         2020       05/18/2020   8     03709      03716
 379    2020‐06‐12 EIS Decision Letter CRA Closeout.pdf                          2020‐06‐12 EIS Decision Letter CRA Closeout                                      06/12/2020 25      03717      03741
  51    AAR_CoverLetter_Final_01‐29‐15_WMack Signed                              Cover Letter for 2014 OA, SRP Evaluation, Post‐Event Site Report      2014       01/30/2015   6     03742      03747
 299    AERMOD_Modeling_Report                                                   AERMOD_Modeling_Report                                                           03/15/2019 40      03748      03787
 300    Air_Resources_Baseline_Technical_Report                                  Air_Resources_Baseline_Technical_Report                                          03/15/2019 78      03788      03865
 301    Artificial_Light_at_Night_Assessment                                     Artificial_Light_at_Night_Assessment                                             03/15/2019 64      03866      03929
 302    Assessment_of_Economics,_Social_Values,_and_Environmental_Justice        Assessment_of_Economics,_Social_Values,_and_Environmental_Justice                03/15/2019 98      03930      04027
  34    Attachment 1 ‐ 2013 Cost Recovery Close Out                              Attachment 1 ‐ 2013 event Cost Recovery Close Out                     2013       02/20/2014 82      04028      04109
 303    Biological_Resources_Baseline_Report                                     Biological_Resources_Baseline_Report                                             03/15/2019 86      04110      04195
 319    Biological_Resources_Baseline_Report_Revised                             Biological_Resources_Baseline_Report_Revised                                     06/14/2019 86      04196      04281
 220    Black Rock City 2017 PRAM Data Report _ Population Summary               Black Rock City 2017 ‐ PRAM Data Report and Population Summary        2017       10/23/2017   2     04282      04283
 313    Black_Rock_City_2012_Oil_Drip_Monitoring                                 Black_Rock_City_2012_Oil_Drip_Monitoring                                         05/23/2019   7     04284      04290
  80    BLM 20 Issues and Concerns Response Letter                               BLM 20 Issues and Concerns Response Letter for 2015 event             2015       03/08/2016   5     04291      04295
 139    BLM 2016 AAR Cover Letter Signed                                         BLM 2016 AAR Cover Letter Signed                                      2016       12/30/2016   1     04296      04296
 140    BLM 2016 AAR Final                                                       BLM 2016 After Action Review (AAR)                                    2016       12/30/2016 38      04297      04334
 143    BLM 2016 AAR Stats                                                       LE statistics from 2014‐2016 Burning Man event                                   12/30/2016   2     04335      04336
 193    BLM 2017 Burning Man Event TO_Final                                      2017 Burning Man Table of Organization                                2017       07/24/2017   1     04337      04337
 154    BLM 2017 Contracting Plan_Gov_t _ BRC MOU                                BLM‐BRC Contracting MOU ‐ 2017 Plan                                   2017       01/20/2017   1     04338      04338
  82    BLM AAR Cover Letter for 2015 Event                                      BLM AAR Cover Letter for 2015 Event                                   2015       03/08/2016   1     04339      04339
 141    BLM Burning Man LE Positions_Permit Cap_City Population 2010_2016        Burning Man Event LE positions ‐ 2010 through 2016                               12/30/2016   1     04340      04340
  57    BLM IM 2015‐100 ‐ FY15 Indirect Cost Rate                                BLM IM 2015‐100 ‐ FY15 Indirect Cost Rate                             2015       06/02/2015 10      04341      04350


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  65    BLM IM 2015‐133 LE Staffing wAttach1                                           BLM IM 2015‐133                                                                                       08/25/2015   4     04351      04354
  91    BLM Response to BRC 2015 CRA Appeal Cover Letter_05‐05‐2016                    BLM response to 4/25/16 BRC letter re: 2016 event                                          2016       05/05/2016   2     04355      04356
  86    BLM Response to BRC 2016 Indirect Cost Waiver Request_04‐01‐2016               BLM letter response/denial re: BRC Indirect Cost waiver request                            2016       04/01/2016   2     04357      04358
 182    BLM response to BRC re medical ‐ 6‐19‐17                                       BLM Response to BRC re: Medical Proposal ‐ 6/19/17                                         2017       06/19/2017   2     04359      04360
 181    BLM response to BRC re medical ‐ 6‐5‐17                                        BLM Response to BRC re: Medical Proposal ‐ 6/5/17                                          2017       06/05/2017   1     04361      04361
 153    BLM_BRC Contracting MOU_1‐20‐2017                                              BLM‐BRC Contracting MOU                                                                    2017       01/20/2017   5     04362      04366
 125    BLM_BRC signed 2016 CRA                                                        BLM and BRC signed CRA for 2016 event                                                      2016       08/02/2016   8     04367      04374
 322    BLM0018531_Final Signed ROD                                                    Final ROD for Burning Man EIS                                                                         07/16/2019 18      04375      04392
  87    BLM‐BRC 2016 CRA Proposal_Planning_04‐01‐2016                                  Unsigned CRA for the 2016 event ‐ Planning                                                 2016       04/01/2016   9     04393      04401
 105    BM 2016 ‐ Incident Action Plan ‐ Final_MP_BLM                                  Burning Man 2016 Incident Action Plan                                                      2016       07/01/2016 17      04402      04418
 244    BM 2017 ‐ Incident Action Plan_FINAL.pdf                                       Burning Man 2017 Incident Action Plan                                                      2017       08/09/2017 16      04419      04434
 219    BM 2017 OMU Overview                                                           BLM Operational Medical Unit ‐ 2017 Burning Man Overview                                   2017       10/02/2017   3     04435      04437
 294    BM 2018 OMU Overview                                                           BM 2018 Operational Medical Unit Overview                                                  2018       10/11/2018   3     04438      04440
 171    BMAN 2017 Closure Notice BP Signed by Budget                                   Briefing Paper ‐ BMAN 2017 Closure Notice in Federal Register                              2017       04/28/2017   5     04441      04445
 274    BP BM general                                                                  Briefing Paper for 2018 Burning Man event                                                  2018       08/08/2018   4     04446      04449
 258    bp mustreport                                                                  Briefing Paper on 2018 "Must Report" protocol                                              2018       06/26/2018   2     04450      04451
 265    BP Private Security                                                            Briefing Paper on private security                                                         2018       07/16/2018 10      04452      04461
 256    bp special agent                                                               Briefing Paper on reduction in special agents at 2018 Burning Man                          2018       06/25/2018   4     04462      04465
 103    BRC 2015 ‐ BLM Answer (as filed)                                               BLM's Answer in IBLA 2016‐115 (including declarations)                                     2015       06/27/2016 53      04466      04518
  89    BRC 2015 CRA Appeal Cover Letter                                               BRC letter re: appeal of 2015 event and planning for 2016 event                            2016       04/25/2016   4     04519      04522
 111    BRC 2016 ‐ Reply dated 7‐22‐2016                                               BRC Reply in 2015 appeal ‐ dated 7‐22‐2016                                                 2015       07/22/2016 67      04523      04589
  90    BRC 2016 ‐ Statement of Reasons                                                BRC Appeal of 2015 event ‐ Statement of Reasons                                            2015       04/26/2016 50      04590      04639
 102    BRC 2016 CRA Funds Addition Letter_06‐29‐2016                                  BRC letter to BLM re: declining to sign CRA w/check for $315,000                           2016       06/27/2016   4     04640      04643
  67    BRC 2016 SRP Application                                                       BRC 2016 SRP Application                                                                   2016       01/19/2016   4     04644      04647
 138    BRC AAR_FINAL_2016_12_22                                                       BRC AAR 2016                                                                               2016       12/22/2016 50      04648      04697
 185    BRC Accept‐Decline E‐mails on 2017 SOWs MOU Program                            BRC Accept‐Decline E‐mails on 2017 Scope of Work MOU Program                               2017       06/30/2017 10      04698      04707
  88    BRC CRA 1st payment_letter4_2016                                               BRC letter to BLM w/signed CRA for planning                                                2016       04/05/2016 10      04708      04717
 285    BRC Daily Report ‐ 8.27.182                                                    BRC Daily Report ‐ 8.27.18                                                                 2018       08/27/2018   2     04718      04719
 166    BRC Proposal for BLM Medical                                                   BRC proposal to provide medical services for BLM personnel at Burning Man                  2017       03/17/2017   9     04720      04728
  79    BRC Request for Indirect Waiver ‐ 3‐3‐2016                                     BRC request for indirect cost recovery waiver                                              2016       03/03/2016 16      04729      04744
                                                                                       Downey Brand LLP letter to BLM re: Notice of Appeal for cost recovery for 2015 Burning
        BRC_Legal_2016_notice_of_appeal                                                                                                                                           2015                     5
 78                                                                                    Man event                                                                                             02/25/2016          04745      04749
 52     BRC_Letter_March_12_2015_Enclosure_Safety_Health_Security (1)                  BRC_Letter_March_12_2015_Enclosure_Safety_Health_Security                                  2015       03/12/2015    10    04750      04759
 47     BRCAAR2014Finalcd                                                              BRC AAR 2014                                                                               2014       12/01/2014    47    04760      04806
280     BRC‐BLM‐USACE‐emails                                                           BRC‐BLM‐USACE‐emails                                                                       2018       08/17/2018     8    04807      04814
371     Breakdown of Cost Changes ‐ 2016‐2019.pdf                                      Breakdown of Cost Changes ‐ 2016‐2019                                                                 02/13/2020     1    04815      04815
173     Briefing Paper ‐ LE Substation                                                 Briefing Paper ‐ BLM LE Substation                                                         2017       05/15/2017     3    04816      04818
323     Briefing Paper_AAR Procedures                                                  Briefing Paper_AAR Procedures                                                              2018       10/01/2018     2    04819      04820
164     Burning Man 2017_ClosureAreaMap_FR                                             BMAN 2017 Closure Map                                                                      2017       02/08/2017     1    04821      04821
269     Burning Man 2018 SRP Stipulations ‐ SIGNED                                     Burning Man 2018 SRP Stipulations ‐ SIGNED                                                 2018       07/27/2018    13    04822      04834
 10     Burning Man DOI‐BLM‐NV‐W030‐2012‐0007‐Final EA                                 Burning Man DOI‐BLM‐NV‐W030‐2012‐0007‐Final EA                                                        06/12/2012   343    04835      05177
283     Burning Man Traffic (bmantraffic) _ Twitter                                    Burning Man Traffic Twitter feed                                                           2018       08/26/2018    18    05178      05195
297     Burning_Man_Event_SRP‐Draft_EIS_Vol1                                           Burning_Man_Event_SRP‐Draft_EIS_Vol1                                                                  03/15/2019   166    05196      05361
298     Burning_Man_Event_SRP‐Draft_EIS_Vol2                                           Burning_Man_Event_SRP‐Draft_EIS_Vol2                                                                  03/15/2019   206    05362      05567
316     Burning_Man_Event_SRP‐Final_EIS_Vol1                                           Burning_Man_Event_SRP‐Final_EIS_Vol1                                                                  06/14/2019   174    05568      05741
317     Burning_Man_Event_SRP‐Final_EIS_Vol2                                           Burning_Man_Event_SRP‐Final_EIS_Vol2                                                                  06/14/2019   702    05742      06443
 55     BurningMan.safetyletterresponse.finaldraft.April 21 (3) (1)                    Burning Man safety letter response                                                         2015       04/21/2015    44    06444      06487
  2     Circular‐A25                                                                   OMB Circular No A‐25                                                                                  07/08/1993    10    06488      06497
 66     Comm Team and Inventory follow up information                                  Communications Set Up Pre Event                                                            2015       12/17/2015     3    06498      06500
                                                                                       BRC letter to BLM re: CR, Commercial use fees and proffer account for 2016 Burning Man
        Cost Recovery Letter 08_11_16                                                                                                                                             2016                     5
131                                                                                    event                                                                                                 08/10/2016          06501      06505
330     CRA Close‐out Comparison 2016‐2018                                             CRA Close‐out Comparison 2016‐2018                                                         2018       03/28/2019    1     06506      06506
326     DD Ops Briefing Paper_Mission Critical                                         DD Ops Briefing Paper_Mission Critical                                                     2018       04/03/2018    2     06507      06508
 62     DOI‐BLM‐NV‐W03500‐2015‐0020‐DNA                                                Determination of NEPA Adequacy                                                             2015       08/06/2015   23     06509      06531
 63     DOI‐BLM‐NV‐W03500‐2015‐0020‐DR                                                 Decision Record                                                                            2015       08/07/2015    5     06532      06536
 61     DOI‐BLM‐NV‐W03500‐2015‐Stips (1)                                               Stipulations                                                                               2015       08/04/2015   14     06537      06550
334     Draft 2018 BM CRA Phase 1_Briefing Paper to AO and SD                          Draft 2018 BM CRA Phase 1_Briefing Paper to AO and SD                                      2018       01/02/2018    4     06551      06554
329     Draft 2018 BM CRA_Internal SD Briefing Paper_Comparisons of 2018 to 2017 CRA   Draft 2018 BM CRA_Internal SD Briefing Paper_Comparisons of 2018 to 2017 CRA               2018       04/30/2018    3     06555      06557
296     Email ‐briefing paper re Crowd RX 2018                                         Email ‐briefing paper re Crowd RX 2018                                                     2018       03/08/2019    6     06558      06563
239     Email from BRC to BLM re questions ‐ 2‐15‐18                                   Email from BRC to BLM regarding cost recovery questions                                    2017       02/15/2018    7     06564      06570


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 273    Emailchain‐fuel tank question                                                                        Email chain re: fuel tank                                                                    2018    08/06/2018   5     06571      06575
 277    Emailchain‐tank letter                                                                               Email chain re: fuel tank letter                                                             2018    08/10/2018   6     06576      06581
 321    ERRATA‐AppK_Attachment‐1                                                                             ERRATA‐AppK_Attachment‐1                                                                             06/21/2019 468     06582      07049
 146    FBMS 2016 Burning Man Labor Report                                                                   FBMS 2016 Burning Man Labor Report                                                           2016    01/06/2017 24      07050      07073
 147    FBMS 2016 Burning Man Misc Supplies and Equipment Report                                             FBMS 2016 Burning Man Misc Supplies and Equipment Report                                     2016    01/06/2017   2     07074      07075
 148    FBMS 2016 Burning Man Travel Report                                                                  FBMS 2016 Burning Man Travel Report                                                          2016    01/06/2017 14      07076      07089
 149    FBMS 2016 Burning Man Vehicle Report                                                                 FBMS 2016 Burning Man Vehicle Report                                                         2016    01/06/2017   4     07090      07093
 150    FBMS COR Financials 2016 Burning Man Contracts Report                                                FBMS 2016 Burning Man Contracts Report                                                       2016    01/06/2017   3     07094      07096
 192    Fentanyl and Synthetic Opioids Handout                                                               Fentanyl and Synthetic Opioids Handout                                                       2017    07/22/2017 13      07097      07109
  48    Final 2014 BLM BMan Operational Assessment (1)                                                       Final 2014 BLM Burning Man Operational Assessment                                            2014    01/29/2015 44      07110      07153
 221    Final 2017 BLM Burning Man Event AAR                                                                 BLM AAR for 2017 event                                                                       2017    12/19/2017 28      07154      07181
 175    Final 2017 MOU SOW_Contracted BLM Lodging_Updated                                                    2017 Scope of Work ‐ Lodging                                                                 2017    06/05/2017   2     07182      07183
 176    Final 2017 MOU SOW_Contracted Fuel Services_for BLM and PCSO                                         2017 Scope of Work ‐ Fuel                                                                    2017    06/05/2017   2     07184      07185
 177    Final 2017 MOU SOW_Contracted IT Equipment_for BLM and PCSO                                          2017 Scope of Work ‐ IT Equipment                                                            2017    06/05/2017   4     07186      07189
 178    Final 2017 MOU SOW_Contracted JOC Facility Assets‐Services_BLM_PCSO                                  2017 Scope of Work ‐ JOC                                                                     2017    06/05/2017   9     07190      07198
 179    Final 2017 MOU SOW_Contracted Meal Services_ for BLM and PCSO                                        2017 Scope of Work ‐ Meal Services                                                           2017    06/05/2017   4     07199      07202
 180    Final 2017 MOU SOW_Contracted UTVs‐Golf Carts Rentals_for BLM                                        2017 Scope of Work ‐ UTV/Golf Cart                                                           2017    06/05/2017   2     07203      07204
 186    Final 2017_MOU SOW_CAD Service_for BLM_to BRC                                                        2017 Scope of Work ‐ CAD                                                                     2017    06/30/2017 12      07205      07216
 187    Final 2017_MOU SOW_MICROWAVE WIRELESS INTERNET_for BLM _ PCSO_to BRC                                 2017 Scope of Work ‐ Microwave‐Wireless Internet                                             2017    06/30/2017   8     07217      07224
 188    Final 2017_MOU SOW_Mission Support Dispatchers_for BLM _ PCSO_to BRC                                 2017 Scope of Work ‐ Dispatchers                                                             2017    06/30/2017 14      07225      07238
 142    Final BLM 2016 BM Event Internal Operational Assessment                                              BLM Internal Operational Assessment ‐ 2016 event                                             2016    12/30/2016 22      07239      07260
 183    Final BM Closure Order_Fed Reg Posting Version                                                       Federal Register ‐ Burning Man Closure Order                                                 2017    06/28/2017   5     07261      07265
  68    Fleet Utilization SPL_2016‐01‐21_17‐18‐23                                                            Fleet Utilization for 2015 Burning Man                                                       2015    01/21/2016   2     07266      07267
  11    FONSI_Burning_Man 2012‐2016                                                                          FONSI_Burning_Man 2012‐2016                                                                          06/12/2012   5     07268      07272
                                                                                                             A FRESH LOOK AT THE INITIAL PROPOSALS FOR THE 2015 BURNING MAN EVENT ‐ Draft
        Fresh Look Final Draft July 11                                                                                                                                                                   2015    07/11/2015    22
 59                                                                                                          internal working copy                                                                                                    07273      07294
134     FY 2017 Indirect Cost Recovery Rate                                                                  Memo setting 2017 Indirect Cost Recovery Rate                                               2017    09/22/2016     3     07295      07297
  6     General Orders                                                                                       BLM General Orders (Manual 9260)                                                                    05/10/2004    54     07298      07351
 46     H_2930_1_FINAL                                                                                       BLM Recreation Permit Administration Handbook H‐2930‐1 (SRP Handbook)                               11/17/2014   247     07352      07598
242     IB2018‐059 (1)                                                                                       Information Bulletin 2018‐59 ‐ Indirect Cost Recovery Rate for FY 2018                      2018    05/29/2018     9     07599      07607
184     IBLA 2017‐126 ‐BLM Answer to Statement of Reasons (as filed)                                         IBLA 2017‐126 ‐ BLM Answer (including declarations)                                         2016    06/29/2017    58     07608      07665
 28     IM 2014‐032_Indirect Rate and Waiver                                                                 BLM IM 2014‐032 ‐ Indirect Rate and Waiver                                                          01/24/2014     5     07666      07670

        IM 2014‐055, Automatic Adjustment of Minimum Special Recreation Permit Fees and Assigned Site Fees   BLM IM 2014‐055 ‐ Automatic Adjustment of SRP Fees                                                                1
 30                                                                                                                                                                                                              01/28/2014           07671      07671
 43     IM 2014‐119, Special Recreation Permit Administration                                                IM 2014‐119, Special Recreation Permit Administration                                               08/01/2014     1     07672      07672
 94     IM 2016‐107 ‐ Fiscal Year (FY) 2016 Indirect Cost Rate                                               IM 2016‐107 ‐ Fiscal Year (FY) 2016 Indirect Cost Rate                                      2016    06/03/2016    11     07673      07683
                                                                                                             IM 2016‐128 ‐ Requirements for Processing and Approving Temporary Public Land Closure
        IM 2016‐128                                                                                                                                                                                                            14
114                                                                                                          and Restriction Orders                                                                              07/26/2016           07684      07697
                                                                                                             IM 2016‐146 ‐ Law Enforcement Staffing Requirements for Fiscal Year 2017 Special Events
                                                                                                                                                                                                                               4
133     IM 2016‐146                                                                                          and High Use Recreation Areas                                                               2017    09/07/2016           07698      07701
246     IM 2018‐015 ‐ LE Staffing Reqs for FY 2018 Special Events                                            IM 2018‐015 ‐ LE Staffing Reqs for FY 2018 Special Events                                   2018    11/29/2017     4     07702      07705
 29     im2014‐032_attachment 1                                                                              Attachment to BLM IM 2014‐032                                                                       01/24/2014     2     07706      07707
 31     IM2014‐055_attachment 1                                                                              Attachment to BLM IM 2014‐055                                                                       01/28/2014     1     07708      07708
 95     IM2016‐107_att1                                                                                      IM2016‐107_attachment 1                                                                     2016    06/03/2016     1     07709      07709
318     Index_for_Final_EIS_Appendix_K                                                                       Index_for_Final_EIS_Appendix_K                                                                      06/14/2019    53     07710      07762
 24     Indirect Cost Rate                                                                                   Letter denying indirect cost waiver for 2013 event                                          2013    08/10/2013     3     07763      07765
  4     Indirect cost recovery by BLM ‐ 99‐I‐393.pdf                                                         DOI OIG Survey Report ‐ Recovery of Overhead Costs by the BLM                                       03/31/1999    12     07766      07777
152     January 19_2017_Email from BRC to BLM regarding fair pay                                             Email from BRC to BLM regarding pay                                                         2017    01/19/2017     2     07778      07779
 39     LAW ENFORCEMENT POLICY General Order 33 Drug Enforcment                                              BLM Law Enforcement General Order 33 Drug Enforcment                                                05/10/2014     2     07780      07781
 15     LT 2012 Burning Man Summary Final (2) (1)                                                            Burning Man Summary of cost recovery charges for 2012 event                                 2012    02/22/2013     1     07782      07782
  1     Manual 1323.pdf                                                                                      BLM Manual 1323 ‐ Cost Recovery                                                                     04/23/1987    55     07783      07837
 41     MOA ORP_Signed_Numbered                                                                              MOA for contributed funds account ‐ ORP                                                             06/20/2014     3     07838      07840
 38     MOA PM_Signed_Numbered                                                                               MOA for contributed funds account ‐ PM                                                              03/14/2014     3     07841      07843
 40     MOU Attachments ‐ 2014 event                                                                         MOU Attachments ‐ 2014 event                                                                2014    06/01/2014     2     07844      07845
 56     MOU Attachments ‐ 2015 event                                                                         MOU Attachments ‐ 2015 event                                                                2015    06/01/2015     2     07846      07847
 93     MOU Attachments ‐ 2016 event                                                                         MOU Attachments ‐ 2016 event                                                                2016    06/01/2016    11     07848      07858
 22     MS 1292 BLM Radio Communications Manual_Encryption Rules                                             BLM Manual 1292 ‐ Radio Communications                                                              06/28/2013    20     07859      07878
304     NASA_Technical_Memorandum                                                                            NASA_Technical_Memorandum                                                                           03/15/2019    29     07879      07907
172     National Police Week                                                                                 Email re: National Police Week                                                              2017    05/12/2017     1     07908      07908
 44     NationalOffice_IM2014‐119_attach01                                                                   Attachment to IM 2014‐119                                                                           08/01/2014     4     07909      07912


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 126    NEPA_2016 Burning Man Event DNA Decision                                                    2016 Event DNA ‐ Decision Letter                                                         2016    08/02/2016   5     07913      07917
 144    New Marijuana Law Cheat Sheet                                                               New Marijuana Law Cheat Sheet                                                            2017    01/02/2017   2     07918      07919
 305    Noise_Impact_Assessment                                                                     Noise_Impact_Assessment                                                                          03/15/2019 96      07920      08015
 281    non‐compliance_fuel                                                                         Noncompliance decision ‐ fuel tanks                                                      2018    08/22/2018   3     08016      08018
 291    Noncompliance_population_signed                                                             Noncompliance decision ‐ population                                                      2018    08/29/2018   5     08019      08023
  64    NVNW03500‐15‐01_‐_SRP                                                                       SRP                                                                                      2015    08/07/2015   2     08024      08025
   3    OMB A‐25 Revised ‐ 58 FR 38142.pdf                                                          FR Notice ‐ OMB Circular A‐25 Revised                                                            07/15/1993   5     08026      08030
 170    PCSO_BLM MOU                                                                                BLM ‐ Pershing County Sheriff's Office MOU                                               2017    04/27/2017   4     08031      08034
   5    Permits for Recreation on Public Lands 67 FR 61732.pdf                                      SRP Final Rule                                                                                   10/01/2002 14      08035      08048
 251    PIM 2018‐010 ‐ Mission Critical designation for Burning Man Event                           PIM 2018‐010 ‐ Mission Critical designation for Burning Man Event                                05/23/2018   2     08049      08050
 306    Post_Event_Inspection_Reports_2014‐2017                                                     Post_Event_Inspection_Reports_2014‐2017                                                          03/15/2019 82      08051      08132
 314    Post‐Event_Inspection_Technical_Memorandum                                                  Post‐Event_Inspection_Technical_Memorandum                                                       05/29/2019   5     08133      08137
  19    Project Log 2102 BM Event 04.25.13 (2)                                                      Project Log for Burning Man ‐ 2012 event                                                 2012    04/25/2013   3     08138      08140
 307    Public_Health_and_Safety_at_the_Burning_Man_Event                                           Public_Health_and_Safety_at_the_Burning_Man_Event                                                03/15/2019 26      08141      08166
 320    Public_Health_and_Safety_at_the_Burning_Man_Event_Revised                                   Public_Health_and_Safety_at_the_Burning_Man_Event_Revised                                        06/14/2019 30      08167      08196
 309    Public_Scoping_Report                                                                       Public_Scoping_Report                                                                            03/15/2019 115     08197      08311
 264    reply to RA 7‐6‐2018                                                                        BLM reply to BRC re: sexual assaults                                                     2018    07/06/2018   2     08312      08313
 237    Scanned 2017 BLM BM Operation Misc Purchase Receipts_R‐1 thru R‐59_2017 CRA Closeout        Copies of misc costs receipts                                                            2017    01/16/2018 91      08314      08404
 238    Scanned 2017 BLM BM Operation Misc Purchase Receipts_R‐60 thru R‐92_2017 CRA Closeout       Copies of misc costs receipts                                                            2017    01/16/2018 49      08405      08453
 211    Section 10 Burning Man K9 Medical Plan                                                      Ops Plan ‐ Section 10 ‐ K9 Medical Plan                                                  2017    08/09/2017 10      08454      08463
 212    Section 11 2017 Law Enforcement Threat Assessment                                           Ops Plan ‐ Section 11 ‐ Law Enforcement Threat Assessment                                2017    08/09/2017 14      08464      08477
 213    Section 11 LE Risk Mgt Worksheet 1112‐5                                                     Ops Plan ‐ Section 11 ‐ Risk Management Worksheet                                        2017    08/09/2017   4     08478      08481
 214    Section 12 BLM Code of Conduct                                                              Ops Plan ‐ Section 12 ‐ Code of Conduct                                                  2017    08/09/2017   1     08482      08482
 215    Section 13 BM 2017 ‐ Incident Action Plan                                                   Ops Plan ‐ Section 13 ‐ Incident Action Plan                                             2017    08/09/2017 16      08483      08498
 203    Section 2 Duties Procedures Protocols_Redacted                                              Ops Plan ‐ Section 2 ‐ Duties, Procedures, Protocols                                     2017    08/09/2017 26      08499      08524
 204    Section 3 Contingency Plans                                                                 Ops Plan ‐ Section 3 ‐ Contingency Plans                                                 2017    08/09/2017 14      08525      08538
 205    Section 4 Personnel_Redacted                                                                Ops Plan ‐ Section 4 ‐ Personnel                                                         2017    08/09/2017   2     08539      08540
 207    Section 6 Communications Plan_Redacted                                                      Ops Plan ‐ Section 6 ‐ Communications Plan                                               2017    08/09/2017   1     08541      08541
 208    Section 7 Laws and Regulations                                                              Ops Plan ‐ Section 7 ‐ Laws/Regs                                                         2017    08/09/2017 20      08542      08561
 209    Section 8 Map                                                                               Ops Plan ‐ Section 8 ‐ Map                                                               2017    08/09/2017   1     08562      08562
 210    Section 9 Burning Man 2017 Medical Threat Assessment_Redacted                               Ops Plan ‐ Section 9 ‐ Medical Threat Assessment                                         2017    08/09/2017 22      08563      08584
 325    State Director Briefing Paper_Employee Safety at Burning Man                                State Director Briefing Paper_Employee Safety at Burning Man                             2018    05/25/2018   2     08585      08586
 324    State Director Briefing Paper_LE Staffing                                                   State Director Briefing Paper_LE Staffing                                                2018    05/25/2018   2     08587      08588
 328    State Director Briefing Paper_Mission Critical                                              State Director Briefing Paper_Mission Critical                                           2018    02/09/2018   2     08589      08590
 308    Traffic_Analysis                                                                            Traffic_Analysis                                                                                 03/15/2019 44      08591      08634
 284    UPDATE_ Burning Man reopens gate                                                            News update: Burning Man reopens gate                                                    2018    08/26/2018   3     08635      08637
  69    YTD Labor Detail_2016‐01‐22_07‐57‐53                                                        Labor Detail for 2015 Burning Man                                                        2015    01/22/2016 22      08638      08659
 380    2019‐11‐22 Email BMP to BLM SRP application                                                 2019‐11‐22 Email BMP to BLM SRP application                                              2020    11/22/2019   6     08698      08703
 381    2019‐12‐12 BMP receives 2020 Phase 1 CRE email                                              2019‐12‐12 BMP receives 2020 Phase 1 CRE email                                           2020    12/12/2019   1     08704      08704
 382    2019‐12‐20 BMP Re Burning Man 2020 Phase 1 CRE                                              2019‐12‐20 BMP Re Burning Man 2020 Phase 1 CRE                                           2020    12/20/2019   9     08705      08713
 383    2020‐01‐08 Emails bw BMP and BLM                                                            2020‐01‐08 Emails bw BMP and BLM                                                         2020    01/08/2020   3     08714      08716
 384    2020‐01‐14 BLM to BMP email for 2020 Phase 1 CRE                                            2020‐01‐14 BLM to BMP email for 2020 Phase 1 CRE                                         2020    01/14/2020   8     08717      08724
 385    2020‐01‐22 BLM to BMP letter for OSS 2019 Information                                       2020‐01‐22 BLM to BMP letter for OSS 2019 Information                                    2019    01/22/2020   2     08725      08726
 386    2020‐01‐22 BMP to BLM re 2020 Phase 1 CRE                                                   2020‐01‐22 BMP to BLM re 2020 Phase 1 CRE                                                2020    01/22/2020   7     08727      08733
 387    2020‐01‐22 OSS 2019 Information Request                                                     2020‐01‐22 OSS 2019 Information Request                                                  2020    01/22/2020   2     08734      08735
 388    2020‐01‐31 BLM to BMP Letter notifying 2019 CR delay                                        2020‐01‐31 BLM to BMP Letter notifying 2019 CR delay                                     2019    01/31/2020   1     08736      08736
 389    2020‐01‐31 BLM to BMP notifying 2019 CR delay email                                         2020‐01‐31 BLM to BMP notifying 2019 CR delay email                                      2019    01/31/2020   1     08737      08737
 390    2020‐03‐23 BMPs COVID 19 Update                                                             2020‐03‐23 BMPs COVID 19 Update                                                          2020    03/23/2020   2     08738      08739
 391    2020‐03‐30 BMP postpones ticket sale                                                        2020‐03‐30 BMP postpones ticket sale                                                     2020    03/30/2020   1     08740      08740
 392    2020‐04‐17 Re 2019 Refund EFT Documents                                                     2020‐04‐17 Re 2019 Refund EFT Documents                                                  2020    04/17/2020   2     08741      08742
 393    2020‐04‐28 Email Burning Man Cost Recovery Refunds                                          2020‐04‐28 Email Burning Man Cost Recovery Refunds                                       2020    04/28/2020   4     08743      08746
 394    2020‐05‐05 Re 2020 Cost Recoverty ‐ Partial Refund                                          2020‐05‐05 Re 2020 Cost Recoverty ‐ Partial Refund                                       2020    05/05/2020   3     08747      08749
 395    2020‐05‐21 Email Re BMP Refund 2019 and Round One 2020 Check In                             2020‐05‐21 Email Re BMP Refund 2019 and Round One 2020 Check In                                  05/21/2020   1     08750      08750
 396    2020‐06‐04 Email Re Update requested Re Burning Man CR Refunds                              2020‐06‐04 Email Re Update requested Re Burning Man CR Refunds                                   06/04/2020 11      08751      08761
                                                                                                    2014‐09‐24 LE Staffing Requirements for FY15 Special Events and High Use Recreation
                                                                                                                                                                                                                  3
397     2014‐09‐24 LE Staffing Requirements for FY15 Special Events and High Use Recreation Areas   Areas                                                                                   2015     09/24/2014          08762      08764
398     2016‐04‐26 Burning Man SOR (2015)                                                           2016‐04‐26 Burning Man SOR (2015)                                                       2015     04/26/2016 1109     08765      09873
399     2016‐07‐21 Burning Man Reply (2015)                                                         2016‐07‐21 Burning Man Reply (2015)                                                     2015     07/21/2016 65       09874      09938
400     2017‐01‐06 FBMS 2016 Burning Man Labor Report                                               2017‐01‐06 FBMS 2016 Burning Man Labor Report                                           2016     01/06/2017 24       09939      09962
401     2017‐04‐29 Burning Man SOR (2016)                                                           2017‐04‐29 Burning Man SOR (2016)                                                       2016     04/29/2017 663      09963      10625


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 402    2017‐08‐11 Burning Man Reply (2016)                                                 2017‐08‐11 Burning Man Reply (2016)                                                    2016      08/11/2017 51      10626      10676
 403    2018‐01‐16 2017 BM CRA Closeout_FBMS Spreadsheet_Labor Costs                        2018‐01‐16 2017 BM CRA Closeout_FBMS Spreadsheet_Labor Costs                           2017      01/16/2018 35      10677      10711
 404    2018‐04‐24 Burning Man SOR (2017)                                                   2018‐04‐24 Burning Man SOR (2017)                                                      2017      04/24/2018 421     10712      11132
 405    2018‐08‐17 Burning Man Reply (2017)                                                 2018‐08‐17 Burning Man Reply (2017)                                                    2017      08/17/2018 26      11133      11158
 406    2019‐02‐06 P‐IM LE Staffing Reqs for Special Events and High‐Use Recreation Areas   2019‐02‐06 P‐IM LE Staffing Reqs for Special Events and High‐Use Recreation Areas                02/06/2019   2     11159      11160
 407    2019‐02‐22 2018 Burning Man Labor                                                   2019‐02‐22 2018 Burning Man Labor                                                     2018       02/22/2019 24      11161      11184
 408    2019‐06‐27 Burning Man SOR (2018)                                                   2019‐06‐27 Burning Man SOR (2018)                                                     2018       06/27/2019 417     11185      11601
 409    2019‐11‐11 Burning Man Reply (2018)                                                 2019‐11‐11 Burning Man Reply (2018)                                                   2018       11/11/2019 36      11602      11637
 410    2020‐01‐29 2019 Burning Man Labor                                                   2020‐01‐29 2019 Burning Man Labor                                                     2019       01/29/2020 47      11638      11684
 411    2020‐07‐06 Burning Man SOR (2019)                                                   2020‐07‐06 Burning Man SOR (2019)                                                     2019       07/06/2020 353     11685      12037
 412    2014‐09‐24 IM‐2014‐149 Attachment 1                                                 2014‐09‐24 IM‐2014‐149 Attachment 1                                                   2015       09/24/2014   1     12038      12038
 174    Fentanyl Book ‐ 6‐02‐2017 ‐ LES Version                                             Fentanyl Book ‐ 6‐02‐2017 ‐ LES Version                                               2017       06/02/2017 21                          Protected
 206    Section 5 NTAC Threat Assessment                                                    Ops Plan ‐ Section 5 ‐ NTAC Threat Assessment                                         2017       08/09/2017 16                          Protected
 370    2020‐04‐23 BLM Response to 2019 SRP Evaluation_signed                               2020‐04‐23 BLM Response to 2019 SRP Evaluation_signed                                 2019       04/23/2020   1                         Protected




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